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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ANYELIS DeLEON,                                        Civil Action No: 1:24-cv-627

                                  Plaintiff,

                 v.                                            NOTICE OF REMOVAL

 BANK OF AMERICA N.A., GOLDMAN
 SACHS BANK USA, DISCOVER BANK, TD
 BANK N.A, EQUIFAX INFORMATION
 SERVICES, LLC, EXPERIAN
 INFORMATION SOLUTIONS, INC., and
 TRANS UNION, LLC,

                                  Defendants.


       PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

Defendant Discover Bank (“Discover”), by and through its undersigned counsel, hereby gives

notice of the removal of the above-entitled action, and all claims and causes of action therein,

currently pending in the Supreme Court of the State of New York, County of Bronx (the “State

Court Action”) to the United States District Court for the Southern District of New York, and

respectfully states as follows:

                                                 PARTIES

       1.        Plaintiff Anyelis DeLeon (“Plaintiff”) is a resident and domiciliary of the State of

New York.

       2.        Defendant Discover is a Delaware chartered state bank with its principal place of

business located at 2500 Lake Cook Road, Riverwoods, Illinois 60015.

       3.        Upon information and belief, Defendant Bank of America, N.A. (“BoA”) is a

national banking association with a principal place of business in Charlotte, North Carolina.

       4.        Upon information and belief, Defendant Goldman Sachs Bank USA (“Goldman

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Sachs”) is a bank with a principal place of business in New York, New York.

       5.        Upon information and belief, Defendant TD Bank N.A. (“TD Bank”) is a bank

with a principal place of business in Cherry Hill, New Jersey.

       6.        Upon information and belief, Defendant Equifax Information Services, LLC

(“Equifax”) is a credit reporting agency with a principal place of business in Atlanta, Georgia.

       7.        Upon information and belief, Defendant Experian Information Solutions, Inc.

(“Experian”) is a credit reporting agency with a principal place of business in Costa Mesa,

California.

       8.        Upon information and belief, Defendant Trans Union, LLC (“TransUnion”) is

credit reporting agency with a principal place of business in Chicago, Illinois.

                                        BACKGROUND

       9.      On or about December 15, 2023, Plaintiff commenced an action against BoA,

Goldman Sachs, Discover, TD Bank, Equifax, Experian, and TransUnion in the Supreme Court of

the State of New York, County of Bronx, entitled Anyelis DeLeon v. Bank of America, N.A.,

Goldman Sachs Bank USA, Discover Bank, TD Bank N.A., Equifax Information Services, LLC,

Experian Information Solutions, Inc., and Trans Union, LLC, by filing a Summons and Complaint,

which was assigned Index No. 819943/2023E (the “State Court Action”).

       10.     A true and correct copy of the Summons and Complaint in the State Court Action

is attached as Exhibit A.

       11.     Other documents were filed in the State Court Action, including: Notices of

Appearance for Plaintiff’s counsel, Affirmations of Service upon BoA, TD Bank, Goldman Sachs,

Discover, and Experian, and Stipulations extending Goldman Sachs’ and BoA’s time to respond

to the Complaint, true and correct copies of which are attached as Exhibit B. There are no other

known pleadings in the State Court Action.
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       12.     In the State Court Action, Plaintiff alleges that Discover has filed inaccurate reports

to credit reporting agencies related to her credit card account with Discover. See Ex. A; Compl.

¶¶ 4, 99-114. Based on those alleged violations, Plaintiff asserts a claim under the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq.

       13.     Plaintiff also alleges claims against BoA, Goldman Sachs, TD Bank, Equifax,

Experian, and TransUnion under FCRA. See Ex. A, Compl. ¶¶ 4, 99-114. In addition, Plaintiff

asserts a state law claim against Equifax, TransUnion and Experian under the New York Fair

Credit Reporting Act (“NY FCRA”), Gen. Bus. Law § 380 et seq., which is based on the same

nucleus of facts as her FCRA claims against Equifax, TransUnion and Experian.

       14.     Defendants have not yet responded to the Complaint.

       15.     Nothing contained in this Notice of Removal or accompanying papers is intended

to waive or relinquish any of the Defendants’ rights or defenses, and Defendants expressly reserve

all rights and defenses (including, but not limited to, all jurisdictional defenses) and counterclaims

to the Complaint.

                THIS COURT HAS FEDERAL QUESTION JURISDICTION

       16.     Pursuant to 28 U.S.C. § 1331, “district courts shall have original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United States.” Here, Plaintiff

has asserted violations of FCRA, 15 U.S.C. § 1681 et seq., which is a federal statute. Accordingly,

this Court has original jurisdiction over this case.

       17.     Additionally, the District Court exercises “supplemental jurisdiction over all other

claims that are so related to claims in the action within such original jurisdiction that they form the

same case or controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a).

In addition to her claims under FCRA, based on the same conduct, Plaintiff alleges violations of

the NY FCRA, Gen. Bus. L. § 380 et seq.
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                                    REMOVAL IS TIMELY

       18.     Defendant BoA was served with the Summons and Complaint on December 26,

2023; TD Bank was served on December 20, 2023; Goldman Sachs was served on January 2,

2024; Discover was served on December 29, 2023; and Experian was served on December 29,

2023. See Ex. B.

       19.     Defendants Equifax and TransUnion have not yet been served with the Summons

and Complaint.

       20.     Discover has timely filed this Notice of Removal, pursuant to 28 U.S.C. § 1446(b),

within 30 days of its receipt of a copy of the Summons and Complaint in the State Court Action.

See Ex. B, Affidavit of Service upon Discover (NYSCEF Doc. No. 7).

                                   CONSENT TO REMOVAL

       21.     Under 28 U.S.C. § 1446(b)(2)(A), “all defendants who have been properly joined

and served must join in or consent to the removal of the action.”

       22.     Here, only Defendants BoA, TD Bank, Goldman Sachs, Discover, and Experian

have been served with the Summons and Complaint. See Ex. B. Those Defendants have consented

to removal. Equifax and TransUnion have not yet been served with the Summons and Complaint

and their consent therefore is not required.

                                               VENUE

       23.     Venue properly lies in the United States District Court for the Southern District of

New York under 28 U.S.C. § 1441(a) because this district embraces the place where the State

Court Action is pending. See 28 U.S.C. § 112(b).

                                               NOTICE

       24.     Pursuant to 28 U.S.C. § 1446(d), Discover will promptly file a Notice of Filing of

Notice of Removal (with a copy of this Notice of Removal attached) with the Clerk of the Supreme

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Court of New York, County of Bronx and serve it upon all counsel in this action. A copy of the

Notice of Filing of Notice of Removal (without exhibits) is attached as Exhibit C.

                                 STATE COURT PLEADINGS

       25.     In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

of record served upon Defendants in this action are attached to this notice as Exhibits A and B.

This case is being removed from the Supreme Court of the State of New York, County of Bronx,

851 Grand Concourse, Bronx, New York 10451.

                                         CONCLUSION

       WHEREFORE, Defendant Discover hereby removes this action from the Supreme Court

of the State of New York, County of Bronx, to the United States District Court for the Southern

District of New York, being the District for the county in which this action is pending, and

respectfully requests that the matter proceed in this Court as an action properly removed thereto.



 Dated: New York, New York                 FAEGRE DRINKER BIDDLE & REATH LLP
        January 29, 2024
                                                     /s/ Marsha J. Indych
                                                     Marsha J. Indych

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                                           Attorneys for Defendant Discover Bank




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